             Case 3:16-md-02741-VC Document 2605 Filed 01/30/19 Page 1 of 2



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18

19    IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
      LIABILITY LITIGATION
20
                                                      Case No. 16-md-02741-VC
21
      This document relates to:                       PLAINTIFFS’ NOTICE OF
22                                                    MOTION AND MOTION IN
      Hardeman v. Monsanto Co., et al.,               LIMINE NO. 12 TO EXCLUDE
23
      3:16-cv-0525-VC;                                EVIDENCE AND ARGUMENT
24    Stevick v. Monsanto Co., et al.,                REGARDING HOW MR.
      3:16-cv-02341-VC;                               HARDEMAN
25    Gebeyehou v. Monsanto Co., et al.,
      3:16-cv-5813-VC
26

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28                                               1
       PLAINTIFFS’ MOTION IN LIMINE NO. 12 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
                              HOW MR. HARDEMAN
Case 3:16-md-02741-VC Document 2605 Filed 01/30/19 Page 2 of 2




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